USDC IN/ND case 3:05-cv-00804-RLM-CAN       document 21    filed 03/24/06   page 1 of 2


                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION

 GARRY EARL SHIDLER,                    )
                                        )
                    Plaintiff,          )
                                        )    CAUSE NO. 3:05-CV-804 AS
       v.                               )
                                        )
 ROBERT MOORE, et al.                   )
                                        )
                    Defendants.         )

                                 OPINION AND ORDER

       Garry Earl Shidler, a pro se prisoner, submitted a motion to amended his

 42 U.S.C. § 1983 complaint. Mr. Shidler seeks to add both new claims and new

 defendants. “Leave to amend is to be ‘freely given when justice so requires.’” Liu

 v. T&H Machine, 191 F.3d 790, 794 (7th Cir. 1999) quoting Fed. R. Civ. P. 15(a).

 Therefore the motion to amend will be granted.

       Pursuant to 28 U.S.C. § 1915A, the court must review the merits of a

 prisoner complaint and dismiss it if the action is frivolous or malicious, fails to

 state a claim upon which relief may be granted, or seeks monetary relief against

 a defendant who is immune from such relief. Until the court has reviewed this

 amended complaint, it cannot be served. There are currently several deadlines in

 this case, but it would be inefficient for the parties to proceed until the new

 complaint has been screened and served. Therefore the current deadlines will be

 vacated and the case stayed pending re-screening.

       Additionally, Mr. Shidler did not provide a summons nor USM-285 for either
USDC IN/ND case 3:05-cv-00804-RLM-CAN         document 21   filed 03/24/06   page 2 of 2


 Chaplin Babb or Administrative Assistant Chris Johnson. Therefore Mr. Shidler

 must cure those deficiencies.

       For the foregoing reasons, the court:

       (1) GRANTS the motion to amend (docket # 20);

       (2) DIRECTS the clerk to file, but not serve, the amended complaint;

       (3) VACATES the deadlines and scheduling order (docket # 18);

       (4) STAYS this case pending re-screening pursuant to 28 U.S.C. § 1915A;

       (5) ORDERS Garry Earl Shidler to submit a properly completed summons

 and USM-285 for Chaplin Babb and Administrative Assistant Chris Johnson on

 or before April 14, 2006;

       (6) DIRECTS the clerk to enclose two blank summons and two blank USM-

 285's with the copy of this order that is sent to the plaintiff; and

       (7) CAUTIONS Garry Earl Shidler that if he does not submit those forms by

 the deadline that this case may be dismissed without prejudice and without

 further notice pursuant to FED . R. CIV . P. 41(b) for not complying with an order of

 this court.

       IT IS SO ORDERED.

       ENTERED: March 24 , 2006

                                             S/ ALLEN SHARP
                                        ALLEN SHARP, JUDGE
                                        UNITED STATES DISTRICT COURT




                                          2
